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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                     TALLAHASSEE DIVISION



GLORIA A McCUTCHEON,

             Petitioner,

v.                                                     Case No. 4:05cv18-RH/WCS

M. L. RIVERA, WARDEN,

             Respondent.

_____________________________/


ORDER DENYING MOTION FOR RECONSIDERATION AND FOR STAY


      Petitioner filed a petition under 28 U.S.C. §2241 challenging her conviction

and sentence as imposed in the United States District Court for the District of

South Carolina. The petition was based on the principles adopted in Apprendi v.

New Jersey, 530 U.S. 466 (2000), Blakely v. Washington, 124 S. Ct. 2531 (2004),

and United States v. Booker, 125 S. Ct. 738 (2005).

      Judgment was entered dismissing the petition. Petitioner has filed a motion

asking this court to vacate the judgment and hold the action in abeyance pending

further developments in the United States Supreme Court. I decline to do so. Even

if there were a reasonable prospect that the Supreme Court might ultimately hold a
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relevant portion of the Apprendi principle retroactively applicable on collateral

review, and even if petitioner could then properly bring a timely, successive

motion for post-conviction relief on that basis, her remedy would be under 28

U.S.C. §2255 in the District of South Carolina, not under §2241 in this court.1

         The notice of appeal has been docketed by the clerk of this court not only as

a notice of appeal but also as an application for a certificate of appealability. But a

certificate of appealability is not a prerequisite to an appeal in a §2241 case

challenging a federal conviction. See §2253(c)(1)(A) & (B) (requiring a certificate

of appealability as a prerequisite to an appeal of the denial of a motion challenging

a federal conviction under 28 U.S.C. §2255 and as a prerequisite to an appeal of


         1
         The Apprendi line of cases recognizes two rights: first, the right to trial by
jury with respect to any fact (other than a prior conviction) that would increase the
maximum sentence that could be imposed on a defendant; and second, the right to
have any such fact established by proof beyond a reasonable doubt. The Supreme
Court has held that the jury-right component of the Apprendi principle is not
retroactively applicable to cases on collateral review. See Schriro v. Summerlin,
124 S. Ct. 2519, 159 L. Ed. 2d 442 (2004). As an original matter, one could argue
either side of the issue whether the same should be true of the proof-beyond-a-
reasonable-doubt component of the Apprendi principle. Decisions of the Eleventh
Circuit, however, foreclose, at least at the district court level, any assertion that the
proof-beyond-a-reasonable doubt component of Apprendi can be raised on
collateral review. See, e.g., Varela v. United States, 40 F.3d 864 (11th Cir. 2005)
(concluding that Booker does not apply retroactively to §2255 cases on collateral
review); McCoy v. United States, 266 F.3d 1245, 1256-58 (11th Cir. 2001)
(holding that Apprendi is not retroactively applicable to cases on collateral review).
None of this matters here, because defendant’s remedy, if any, lies in South
Carolina.


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the denial of a habeas petition challenging a state court conviction, but omitting

any reference to a habeas petition challenging a federal conviction); Sawyer v.

Holder, 326 F.3d 1363, 1364 n.3 (11th Cir. 2003).

         Accordingly,

         IT IS ORDERED:

         Petitioner’s motion for reconsideration (document 7) is DENIED. No

certificate of appealability is required or will issue.

         SO ORDERED this 9th day of May, 2005.

                                                s/Robert L. Hinkle
                                                Chief United States District Judge




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